 

Case 1:15-cv-13813-LTS Document 46 Filed 04/20/17 Page 1 of 1

UNITED STATES FEDERAL COURT
FOR THE DISTRICT OF MASSACHUSET'I"S

 

lN RE:

BISASOR, ET AL Bankruptcy Appeal

Case No.: 15-cv-13813 and 15-cv-]3964

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REOUEST FOR EXTENSION OF TIME ON ENTRY OF SETTLEMENT ORDER OF

DISMISSAL

l, Andre Bisasor, the debtor-appellant in the above captioned case` hereby request a 60-day of

extension ot` time for the entry of the settlement order of dismissal Grounds are as follows:

The deadline t`or entry of the settlement order oi` dismissal runs on or about the date ot`April 1?_.
201?.

As this Court is aware_. the parties have agreed to settle this case and have fully reachedfsigned
a settlement agreementl

The agreement is still waiting approval from the bankruptcy court due to a delay based on
requirements from the trustee including certain adjustments that took into account certain
considerations ot` the estate.

The trustee still has not tiled the motion to approve the settlement with the bankruptcy court
due to a complication with the involvement ol`a non-debtor spouse in the settlement contract.
Therefore, l ask the court for another 60 days of extension of time. lt` the process for

bankruptcy court approval occurs sooner than 60 days_. l will inform this court immediately

WHEREFORE. l hereby humbly request this Honorable Court grant my request and/or other relief that

the Court deems just and proper.

Dated:

Respectfully submitted,
By The Debtor

OL/\Jwt. BAJRM_
Andre Bisasor

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April 17. 2017

 

 

 

 

